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iN Ti-iE uNiTED sTATEs DisTRicT couRT *"ii-Ei`>‘ _____ ~ D-C.
FoR THE wEsTERN nisTRicT oF TENNEssEE [,,.,. ;, 9 _ '?_ l
wEsTERN DivisloN \-\J ii _~ 2

UN|TED STATES OF AMER|CA,

 

P|aintiff,
vs. Cr. No.: 04-20177-B
GERALD RAYBORN

BONNIE RAYBORN and
LARRY BULLOCK

Defendants.

 

 

Upon motion of the United States to take the handwriting exemplars of Bonnie
Rayborn, Geraid Rayborn, and Larry Bu||ock and atterfu|iy considering this matter, and for
good cause shown,

lT lS ORDERED that Bonnie Rayborn, Gerald Rayborn, and Larry Bullock shall

provide handwriting exemplarsm to the United States.

Entered this'l'oq\ day of clei=;LIP/, 2005.

§§M

Dniel Breen
ni Ud States District Judge

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
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Honorable J. Breen
US DISTRICT COURT

